                    2:18-cv-02212-CSB-EIL # 2             Page 1 of 2                                                  E-FILED
AO 458 (Rev. 06/09) Appearance of Counsel                                             Monday, 13 August, 2018 09:08:32 AM
                                                                                              Clerk, U.S. District Court, ILCD
                                     UNITED STATES DISTRICT COURT
                                                            for the
                                              Central District
                                             __________          of__________
                                                        District of Illinois

  U.S. Equal Employment Opportunity Commission                 )
                             Plaintiff                         )
                                v.                             )      Case No.     2:18-cv-02212-CSB-EIL
          Urbana School District No. 116 et. al.               )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiff, U.S. Equal Employment Opportunity Commission                                                        .


Date:          08/13/2018                                                              s/Gregory Gochanour
                                                                                         Attorney’s signature


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         2:18-cv-02212-CSB-EIL # 2            Page 2 of 2
                               UNITED STATES DISTRICT COURT
                            FOR THE CENTRAL DISTRICT OF ILLINOIS



U.S. Equal Employment Opportunity Commission      )
                    Plaintiff                     )
                       v.                         )     Case No. 2:18-cv-02212-CSB-EIL
     Urbana School District No. 116 et. al.       )
                   Defendant                      )


                                     CERTIFICATE OF SERVICE

I certify that on _______________,
                   08/13/2018      I electronically filed the foregoing with the Clerk of the

Court using the CMECF system which will send notification of such filing to the following:

 Appearance of Counsel
_____________________________________________________________________________,

and I certify that I have mailed by the United States Postal Service the document to the following

non CMECF participants:

_____________________________________________________________________________.




                                                             s/Gregory Gochanour
                                                              Attorney’s signature

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